

People v Streber (2023 NY Slip Op 01407)





People v Streber


2023 NY Slip Op 01407


Decided on March 17, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 17, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, CURRAN, BANNISTER, AND MONTOUR, JJ.


171 KA 20-01308

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vDAVID STREBER, JR., DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






BRIDGET L. FIELD, ROCHESTER, FOR DEFENDANT-APPELLANT. 
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (SCOTT MYLES OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Monroe County Court (Michael L. Dollinger, J.), rendered September 24, 2020. The judgment convicted defendant, upon his plea of guilty, of criminal possession of stolen property in the fourth degree. 
Now, upon reading and filing the stipulation of discontinuance signed by defendant on December 24, 2022, and by the attorneys for the parties on January 5 and 31, 2023,
It is hereby ORDERED that said appeal is unanimously dismissed upon stipulation.
Entered: March 17, 2023
Ann Dillon Flynn
Clerk of the Court








